Case 2:18-cr-00104-SVW Document 45 Filed 06/07/19 Page 1 of 1 Page ID #:470




                  UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                  OFFICE OF THE CLERK OF COURT


To:       Chief Deputy/Fiscal

Re:       Verification of Surrender to Bureau of Prisons or Report to United States
          Probation

          Case Number:   2:18−cr−00104−SVW
          Defendant’s Name:  Vasken Kenneth Gourdikian

The above−named defendant was ordered to self−surrender to begin serving their sentence
of imprisonment on     6/3/2019 . The bond may be exonerated pending the verification as
to whether the defendant is being electronically monitored by the U.S. Probation Office;
confined to the custody of the Bureau of Prisons; or completed their jail time.

As of :    6/7/2019   , it was verified the defendant:

   has surrendered to the Bureau of Prisons    .



Verified via Bureau of Prisons website.




 June 7, 2019                                 By        /s/ Margo Mead
 Date                                              Deputy Clerk




 CR−86 (11/08)                  VERIFICATION OF SURRENDER
